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EXHIBIT B

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Military Sexual Trauma Movement (MSTM) =>
MSTM Senior Leadership Team

August 22

Senior Leadership Meeting
Aug 26 2019

Gs) Janelle Marina Mendez - Private - Seen by 6

AGENDA:

 

Conflict Resolution Pre-meeting:
"| feel __ when __ situation occurred. This situation triggered ___in
me which caused me to feel __. Going forward | need __ to feel___."

AGENDA:
Old Business:

Washington D.C Trip

1. Dates 12th thru 14th

2. Need to develop a training and demonstration schedule
3. Scott Face to Face Interview schedule

4. Lodging Accommodations

Leigh Ann Moss Air BnB and how many

9. Scholarship Recipients

6. Self funded Attendees

7. Dress Code

8. Photography, etc

9. Pool money together for groceries, organize a chores list
10. Put together rules and regulations while we are out there.
IE: Limit Alcohol consumption to two beverages a night etc.

KCRU Interview (dee and Kelsey)

New Business:

* Policies Enactment:

* Community Group Standards - Our facebook community has
this and is a good foundation.

* Privacy Policy

* Business Line Chain of Command

* Emotional Currency & Codes

* Defining clear policies for what falls under whos jurisdiction in
movement so there isn't confusion with overlap and so

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